                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MAINE


UNITED STATES OF AMERICA                     :
                                             :       Criminal No. 20-mj-316-JCN
               v.                            :
                                             :
KATRINA PREBLE                               :


             UNOPPOSED MOTION FOR COMPETENCY EXAMINATION

       NOW COMES undersigned counsel for the Defendant and hereby moves this Honorable

Court pursuant to Title 18, United States Code, § 4241, for a psychological or psychiatric

examination of the Defendant and subsequent hearing to determine whether the Defendant is

competent to proceed with necessary court hearings and assist in her own defense. Counsel has

conferred with Assistant United States Attorney Andrew McCormack regarding the relief sought

hereby and Mr. McCormack indicates that the Government has no objection thereto.

       Undersigned counsel respectfully represents that based on an initial review of file

materials and personal observations and interactions with the Defendant, counsel has concerns

that Defendant may not be competent to undergo initial proceedings, to stand trial and/or to

assist counsel in the presentation of a defense to the charges contained in the Complaint.

       In order to find a defendant incompetent, this Honorable Court must find by a

preponderance of the evidence that the Defendant is suffering from a mental disease or defect

rendering her mentally incompetent to the extent that she is unable to understand the nature and

consequences of the proceedings against her or assist properly in her defense.




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       Pursuant to 18 U.S.C. § 4241(b) a psychiatric or psychological examination and report of

the Defendant is requested. It is requested that this examination be completed by the Bureau of

Prisons. After the report is filed, counsel requests a hearing on the issue of competency pursuant

to 18 U.S.C. § 4241(c). Finally, Defendant moves to extend all pretrial deadlines and to

continue proceedings in this matter until a date after the examination and hearing has occurred.

       WHEREFORE, for all of the foregoing reasons, including that the motion is unopposed,

undersigned counsel respectfully requests this Court to order a psychological or psychiatric

examination and report on Katrina Preble, to hold a hearing to determine her mental competency

to proceed, to reset all pretrial deadlines and to continue initial proceedings and trial of this

matter until after said hearing has occurred and for such other and further relief as the Court

deems proper.

                                                       Respectfully submitted,

Dated: November 18, 2020                               /s/ James S. Nixon
                                                       James S. Nixon, Esquire
                                                       Assistant Federal Defender
                                                       Office of the Federal Defender
                                                       23 Water Street, Suite 206
                                                       Bangor, Maine 04401
                                                       Attorney for Defendant




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               v.                            :
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KATRINA PREBLE                               :


                                CERTIFICATE OF SERVICE

         I, James S. Nixon, Esquire, Assistant Federal Defender for the District of Maine, hereby
certify that on November 18, 2020 I electronically filed the Unopposed Motion for Competency
Examination with the Court via the CM/ECF electronic filing system which will send
notification of such filing via said system electronically on the 18th day of November, 2020 to
the following persons:

       Andrew McCormack, Assistant U.S. Attorney
       U.S. DEPARTMENT OF JUSTICE
       202 Harlow Street, Rm 111
       Bangor, Maine 04401
       Andrew.McCormack@usdoj.gov


Dated: November 18, 2020                     /s/ James S. Nixon______________________
                                             James S. Nixon, Esquire
                                             Assistant Federal Defender
                                             Office of the Federal Defender
                                             23 Water Street, Suite 206
                                             Bangor, Maine 04401
                                             Attorney for Defendant




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